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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION


MISSOURI & NORTHERN ARKANSAS
RAILROAD COMPANY, INC.                                            PLAINTIFF

v.                             No. 1:10-cv-8-DPM

ENTERGY ARKANSAS, INC.                                         DEFENDANT


                           AMENDED JUDGMENT

      The Court amends its Judgment, NQ 126. Missouri & Northern Arkansas

Railroad Company, Inc., shall have Judgment against Entergy Arkansas, Inc.,

for $541,818.07. This total includes:

            1. $268,233.29      - Leal-related amount previously awarded

            2.       $429.91    - Interest at .18% from 6 November 2012 until
                                  27 September 2013 on the original Judgment
                                  for the Leal-related amount

            3.     $6,814.74    - Allowed costs

            4. $118,331.25      - Prejudgment interest from 30 June 2005 until
                                  6 November 2012

            5. $148,008.88     - Reasonable attorney's fees

                 $541,818.07     Total
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This Amended Judgment shall accrue interest at .18% per annum from today

until paid in full. 28 U.S.C. § 1961(a)-(b).




                                               D.P. Marshall Jr.
                                               United States District Judge

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